    Case 18-11840       Doc 52   Filed 08/08/18 Entered 08/08/18 10:50:36              Desc Main
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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS
                                      EASTERN DIVISION

  In Re:
                                                                  Case No. 18-11840-MSH
  KAREN R.                                                             (Chapter 13)
  MERRITT, DEBTOR

      ORDER GRANTING RELIEF FROM AUTOMATIC STAY AND CO-DEBTOR SAY

At Boston in said District this 8th day of August, 2018.

           The Motion for Relief from the Automatic Stay of PENSCO Trust Company Custodian,

  f/b/o James P. Tiernan IRA (“Tiernan IRA”), and PENSCO Trust Company Custodian, f/b/o

  Richard J. Fagan IRA (“Fagan IRA”) [#29] having come before me, due notice having been given,

  a hearing having been held, an objection having been filed and overruled, and good cause

  appearing to me therefor, it is hereby

           ORDERED that the Tiernan IRA and the Fagan IRA, their respective, Successors and/or

  Assigns, are hereby granted relief from the automatic stay imposed by 11 U.S.C. §362 and the

  automatic co-debtor stay imposed by 11 U.S.C. §1301. The Tiernan IRA and the Fagan IRA

  (collectively “the IRAs”) may proceed to foreclose or accept a deed in lieu of foreclosure of the

  Mortgage given by Debtor, Karen R. Merritt, to the IRAs on September 17, 2010 which Mortgage

  was recorded on September 23, 2010 in the Bristol County (Northern District) Registry of Deeds in

  Book 8986, Page 206 and covers the premises located at 7 Brayton Woods, Rehoboth, MA 02769.

  The IRAs may exercise their respective rights under said Mortgage, including preserving their

  respective rights to seek any deficiency to the extent permitted by state and federal law, including

  11 U.S.C. §524(a), and may bring such actions, including, without limitation, summary process

  proceedings, as are permissible by law, all as set forth in their Motion.




                                                           Honorable Melvin S. Hoffman United
                                                           States Bankruptcy Judge
